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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

     DONALD AGEE, JR. et al.,                       Case No. 1:22-CV-00272-PLM-RMK-DML

                           Plaintiffs,
                                                       RESPONSE OF THE MICHIGAN
            v.
                                                          INDEPENDENT CITIZENS
     JOCELYN BENSON, et al.,                          REDISTRICTING COMMISSION TO
                                                        REPORT OF THE REVIEWING
                           Defendants.                 SPECIAL MASTER REGARDING
                                                       MICHIGAN STATE SENATE MAP


            The reviewing special master, Dr. Grofman, agrees with the parties that the remedial

    senate plan (the Crane plan) of the Michigan Independent Citizens Redistricting Commission

    (the Commission) “adequately addresses the constitutional concerns of the Court by offering

    a plan in which race is not a preponderant motive and in which the criteria specified by the

    Michigan Constitution are satisfied.” ECF No. 188 at 14, PageID.5922. There is no basis for

    this Court to enjoin the Crane plan. See North Carolina v. Covington, 585 U.S. 969, 979 (2018)

    (per curiam); Abrams v. Johnson, 521 U.S. 74, 85 (1997) (“In the absence of a finding that the

    legislature’s reapportionment plan offended either the Constitution or the Voting Rights Act,”

    a federal court is “‘not free . . . to disregard the political program’ of the state legislature.”

    (citation omitted)).

           Most importantly, Dr. Grofman agrees with the parties that the Crane plan “has made

    substantial demographic shifts in all six of the districts that were invalidated in the previous

    litigation.” ECF No. 188 at 8, PageID.5916. Because it does not carry forward past racial

    motivation this Court found in the prior plan (the Linden plan), the Crane plan remedies the

    violation. See Covington, 585 U.S. at 978. Dr. Grofman also finds no basis to believe new racial

    considerations entered the line-drawing. See ECF No. 188 at 14, PageID.5922 (concluding
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    that “race is not a preponderant motive”). There is then no argument or evidence that the

    Crane plan violates the Constitution.

           Like Plaintiffs’ expert, Dr. Trende, Dr. Grofman offers no objection founded in the

    Voting Rights Act (the VRA). But, like Dr. Trende, Dr. Grofman’s position on VRA

    compliance is more tentative than the case warrants. The Commission responds to his VRA

    position here.

           A.        The Court Has No Legal or Evidentiary Basis to Enjoin the Crane Plan

           As an initial matter, Dr. Grofman acknowledges that the record is insufficient to

    establish a VRA violation and proposes that the question be left for future litigation. ECF No.

    188 at 14, PageID.5922. This conclusion, if nothing else, renders an injunction untenable. For

    one thing, the VRA question Dr. Grofman raises pertains to Crane plan’s district 7 (SD7).

    District 7 in the Linden plan was not enjoined, and no Plaintiff has been shown to reside in

    SD7 as redrawn. Hence, it is not established that the Court has jurisdiction to consider

    potential defects in SD7. See United States v. Hays, 515 U.S. 737 (1995); see ECF No. 175 at 9–

    10, PageID.5854-55.

           Moreover, VRA liability cannot be found unless the “exacting requirements” of

    Section 2 are met. Allen v. Milligan, 599 U.S. 1, 30 (2023). The Court would first have to find

    that the three so-called Gingles preconditions are proven: (1) “the minority group must be able

    to demonstrate that it is sufficiently large and geographically compact to constitute a majority

    in a single-member district,” (2) “the minority group must be able to show that it is politically

    cohesive,” and (3) “the minority must be able to demonstrate that the white majority votes

    sufficiently as a bloc to enable it . . . usually to defeat the minority’s preferred candidate.”

    Thornburg v. Gingles, 478 U.S. 30, 50–51 (1986); see Abrams, 521 U.S. at 91–92. “If a plaintiff


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    makes that showing, it must then go on to prove that, under the totality of the circumstances,

    the district lines dilute the votes of the members of the minority group.” Abbott v. Perez, 585

    U.S. 579, 614 (2018).

           No evidence meets these standards. This Court overruled VRA objections to the house

    remedial plan (Motown Sound) because Plaintiffs made “close to zero effort to show that the

    remedial plan actually violates the VRA.” ECF No. 175 at 9, PageID.5854. Here, there is no

    VRA-based objection. Nor could there be. As to the second and third preconditions, Dr.

    Grofman provides no evidence of minority cohesion or legally significant white bloc voting.

    See Growe v. Emison, 507 U.S. 25, 42 (1993) (“Section 2 ‘does not assume the existence of

    racial bloc voting; plaintiffs must prove it.’” (citation omitted)). As to the first precondition,

    Dr. Grofman proposes “that it is possible to draw four Black majority citizen voting age

    districts for the Michigan Senate in the vicinity of Wayne County and Detroit.” ECF No. 188

    at 13, PageID.5921. But the first precondition is not so easily satisfied. Proposed majority-

    minority districts must be “reasonably configured,” Wisconsin Legislature v. Wisconsin Elections

    Comm’n, 595 U.S. 398, 402 (2022), which requires compliance with “traditional districting

    principles such as maintaining communities of interest and traditional boundaries,” Abrams,

    521 U.S. at 92 (citation omitted). There is no evidence before the Court satisfying that

    standard. As shown below, § C, Dr. Grofman’s discussion of alternative configurations

    suggests that the standard cannot be met.

           Finally, the Court cannot in this posture conclude that Section 2 liability exist under

    the totality of the circumstances. See Wisconsin Legislature, 595 U.S. at 405.




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           B.      All Probative Evidence Shows That the Crane Plan Provides the
                   Opportunity Dr. Grofman Suggests May Be Required

           Not only is there an absence of evidence showing a VRA defect; overriding evidence

    proves there is no defect. VRA liability cannot lie without proof of “the possibility of creating

    more than the existing number of reasonably compact districts with a sufficiently large

    minority population to elect candidates of its choice.” Johnson v. De Grandy, 512 U.S. 997,

    1008 (1994). Dr. Grofman and Dr. Trende both propose that the requisite number of

    opportunity districts in Metropolitan Detroit is four. ECF No. 185-1 at 7, PageID.5904; ECF

    No. 188 at 13, PageID.5921. While that assertion is like wrong, see § C, infra, the mark is

    satisfied in all events.

           Dr. Grofman agrees with the Commission that three Detroit-area districts (SD1, SD3,

    and SD6) in the Crane plan are “clearly” opportunity districts. ECF No. 188 at 8,

    PageID.5916. Indeed, accounting for citizenship, each (including SD1) is a majority-minority

    district. 1 See id. at 9, PageID.5917. Regardless, Dr. Grofman is correct that, while an illustrative

    district proffered to establish Section 2 liability must be a majority-minority district, see Bartlett

    v. Strickland, 556 U.S. 1, 18, (2009) (plurality opinion), an enacted district challenged under

    Section 2 can satisfy the VRA even if it falls below the majority-minority mark, Cooper v. Harris,

    581 U.S. 285, 287 (2017); ECF No. 188 at 4–5, PageID.5912-13. By consequence, because

    SD1 clearly affords at least equal Black opportunity, it satisfies the VRA whether or not it is

    considered a majority-minority district. ECF No. 188 at 8, PageID.5916.




    1
     Citizenship (viewed through the Citizen Voting Age Population (CVAP) metric) is highly
    probative, given that non-citizens lack voting rights. See League of United Latin Am. Citizens v.
    Perry, 548 U.S. 399, 429 (2006).
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           Dr. Grofman, however, questions the Commission’s view that SD7 is also an

    opportunity district (for a total of four), calling that assertion “somewhat problematic, though

    not obviously wrong.” ECF No. 188 at 13, PageID.5921. But the assertion is not problematic.

    Dr. Grofman independently confirms “that African-American potential voters in the

    Democratic primary in District 7 are likely to outnumber potential non-African-American

    voters in that primary.” Id. Thus, SD7 provides at least equal electoral opportunity to Black

    voters in the Democratic primary. Dr. Grofman balks at that conclusion only because this

    advantage is “not by a large margin.” Id. That is unduly hesitant in both factual and legal

    respects.

           On the facts, Dr. Grofman places too much weight on the estimated voter pool and

    ignores estimated turnout. The Commission’s VRA expert, Dr. Maxwell Palmer, estimates

    that Black voters in SD& hold a 31.2% to 30.6% edge over white voters in the Democratic

    primary pool, but a much more robust superiority in actual primary turnout—54% to 41% in

    2018 and 50% to 45% in 2022. Ex. A, Expert Report of Dr. Palmer ¶ 7. Black voters, if they

    are cohesive, can decisively prevail over white voters, even if they are cohesive, in SD7.

    Because elections are decided by voters who turn out, not merely by those registered, turnout

    estimates provide probative information that cannot be ignored. 2 Cf. Wright v. Sumter Cnty. Bd.

    of Elections & Registration, 301 F. Supp. 3d 1297, 1318 (M.D. Ga. 2018), aff’d, 979 F.3d 1282

    (11th Cir. 2020) (“While African Americans do outnumber whites on the voter rolls, the


    2
      Evidence of high Black participation also signals that key totality-of-circumstances factors,
    requiring proof that “the level of black participation is depressed,” United States v. Marengo
    Cnty. Comm’n, 731 F.2d 1546, 1568 (11th Cir. 1984) (citation omitted), cut against Section 2
    liability. See Salas v. Sw. Texas Jr. Coll. Dist., 964 F.2d 1542, 1556 (5th Cir. 1992) (“[T]he high
    incidence of Hispanic registration in the District is persuasive evidence that Hispanic voters
    are not deterred from participation in the political process because of the effects of prior
    discrimination, including unemployment, illiteracy, and low income.”).

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    voting booth is another story.”); Uno v. City of Holyoke, 72 F.3d 973, 986–87 (1st Cir. 1995)

    (discussing the significance of low turnout).

           On the law, Dr. Grofman misses that Section 2 guarantees only equal “opportunity,”

    52 U.S.C. § 10301(b), not success, let alone “by a large margin,” ECF No. 188 at 13,

    PageID.5921. 3 “Properly conceived, the results test protects racial minorities against a stacked

    deck but does not guarantee that they will be dealt a winning hand.” Uno, 72 F.3d at 982. The

    point of Section 2 “is to provide a level playing field on which minority candidates—like all

    candidates—will be exposed only to the routine vicissitudes of the electoral process, not to

    special impediments arising out of the intersection of race and the electoral system.” Id. at

    986; see also Smith v. Brunswick Cnty., Va., Bd. of Sup’rs, 984 F.2d 1393, 1400–01 (4th Cir. 1993).

    Here, where the Democratic primary pool in SD7 consists of more Black than white registered

    voters, and where Black primary turnout is likely to exceed white turnout by a comfortable

    margin, the district provides the even playing field Section 2 requires. Just as “minority voters

    are not immune from the obligation to pull, haul, and trade to find common political ground,”

    Johnson, 512 U.S. at 1020, Section 2 does not relieve them of the duty to vote, see Salas, 964

    F.2d at 1556 (“Obviously, a protected class is not entitled to § 2 relief merely because it turns

    out in a lower percentage than whites to vote.”). Viewed under the correct legal standard,

    SD7 affords the requisite equality of opportunity. Whether or not—and how—Black voters

    exercise that opportunity is up to them.




    3
     Dr. Grofman, of course, speaks only “from a social science point of view,” ECF No. 188 at
    14, PageID.5922, and rightly does not weigh in on the governing law.
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           C.     No Evidence Establishes Four Opportunity Districts as the Section 2
                  Baseline

           Besides, no competent evidence supports the assumption that Section 2 mandates four

    Detroit-area opportunity senate districts. As explained, the first Gingles preconditions requires

    proof that additional minority opportunity is available—by means of illustrative majority-

    minority districts that are reasonably configured in accord with traditional districting

    principles, including communities of interest and traditional boundaries. Wisconsin Legislature,

    595 U.S. at 402; Abrams, 521 U.S. at 88; see also, e.g., Holder v. Hall, 512 U.S. 874, 880–81

    (1994) (explaining the analytical role of a “benchmark for comparison” in Section 2 cases);

    Reno v. Bossier Par. Sch. Bd., 528 U.S. 320, 334 (2000) (similar discussion).

           Dr. Grofman notes that he “independently verified” that “it is possible to draw four

    Black majority citizen voting age districts for the Michigan Senate in the vicinity of Wayne

    County and Detroit.” ECF No. 188 at 13, PageID.5921. But he did not submit his alternative

    configurations for this Court’s or the parties’ review. See Magnolia Bar Ass’n, Inc. v. Lee, 994

    F.2d 1143, 1151 n.6 (5th Cir. 1993) (explaining that the first precondition “specifically

    contemplates the creation of hypothetical districts”); Abrams, 521 U.S. at 84 (discounting “late

    submission” of alternative remedial plan from Justice Department’s demographer, which

    prevented him “from being cross-examined about racial motivations”).

           Moreover, there are compelling reasons to conclude that Dr. Grofman’s proposal

    would not be reasonably configured. Dr. Grofman proposes that SD7 might be converted “to

    a majority African-American district by adding a small portion of African-American

    population from Detroit . . . .” ECF No. 188 at 13, PageID.5921. If that sounds familiar, that

    is because it is the approach this Court’s liability ruling condemns—extending districts north

    to south into and out of Detroit, spoke-like, to achieve racial goals. See, e.g., ECF No. 131 at

                                                    7
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    88–96, PageID.4793-99 (discussing former senate districts 8 and 11). Indeed, Dr. Grofman’s

    proposed configuration would appear to replicate aspects of Linden plan district 8, which

    extended from Birmingham down into the Schoolcraft neighborhood of Detroit, despite

    demographic and cultural differences between these places. ECF No. 131 at 91, PageID.4794;

    see also 3.Tr. 105:16–23, ECF No. 104, PageID.2896. SD7 contains Birmingham, but heeding

    this Court’s ruling, the Commission ended its southern border at Eight Mile Road.

           Dr. Grofman’s proposal that SD7 cross into Detroit would compel the Commission

    back into the redistricting approach this Court rejected, and the proposal cannot be reasonably

    configured under the first Gingles precondition. See, e.g., Milligan, 599 U.S. at 30 (2023)

    (holding that “§ 2 never requires adoption of districts that violate traditional redistricting

    principles” (quotation and alteration marks omitted); id. at 43 (Kavanagh, J., concurring)

    (rejecting reading of Section 2 that would force states “to group together geographically

    dispersed minority voters into unusually shaped districts, without concern for traditional

    districting criteria such as county, city, and town lines”); Abrams, 521 U.S. at 88 (rejecting

    advocacy for additional majority-minority district in remedial plan where (“[n]o other plan

    demonstrated a second majority-black district could be drawn while satisfying the

    constitutional requirement that race not predominate over traditional districting principles”).

    At a more basic level, it would be entirely unfair for the Court to strike down Linden district 8

    as a racial gerrymander and then strike down SD7 because it is insufficiently like Linden

    district 8. 4 See Alexander v. S.C. State Conf. of the NAACP, 144 S. Ct. 1221, 1267 (2024) (Thomas,




    4
     The proposal may also in certain respects replicate Linden district 7, which also crossed
    Eight Mile Road. Although the Court did not adjudicate a claim against that district, the
    Commission had overriding reasons to view the Court’s opinion as discouraging a
    configuration of SD7 that crosses into Detroit.
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    J., concurring) (explaining how racial-gerrymandering and Section 2 jurisprudence can place

    “States in a lose-lose situation”).

           Perhaps recognizing that his majority-minority proposal is unworkable, Dr. Grofman

    offers the following enigmatic alternative:

                   African American population can also be added to District 7 by
                   slightly reconfiguring the district and its neighbors even without
                   drawing on population from Detroit in such a fashion that an
                   argument for District 7 being a “realistic opportunity to elect”
                   district (though not actually a majority African-American
                   district) can be substantially strengthened.

    ECF No. 188 at 13, PageID.5921. Several defects plague this assertion. Most importantly, it

    does not support Dr. Grofman’s thesis that four reasonably configured majority-minority

    districts are possible. See id. Dr. Grofman admits that SD7 would “not actually [be] a majority

    African-American district” without crossing Eight Mile Road. Id. The first Gingles

    precondition, however, is not satisfied without proof of an additional, reasonably configured

    majority-minority district. Bartlett, 556 U.S. at 18. There is no Section 2 obligation to bolster

    “an argument” that SD7 is an opportunity district without predicate proof of a reasonably

    configured majority-minority district. 5 The use of race in this context, without a threshold

    showing under the first precondition, would not be narrowly tailored. See Shaw v. Hunt, 517

    U.S. 899, 916 (1996).

           Besides, it is difficult to see how reworking SD7 with “its neighbors” would be effective

    in terms of minority opportunity or reasonably configured in terms of neutral criteria. As to




    5
      As noted, it is important to distinguish the Section 2 hypothetical baseline standard (which
    contains a 50% minority voting-age population threshold) from an enacted plan to be judged
    against that standard (which need not be 50% minority voting-age population district to pass
    the test). Here, because Dr. Grofman is proposing a hypothetical legal measuring stick, the
    50% rule applies.
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   minority opportunity, SD7 already contains (for race-neutral reasons) Pontiac and Southfield,

   which are the predominantly Black regions of Oakland County. Districts to the east and west

   are predominantly white. It is a mystery how east-west alterations would bolster SD7’s claim

   to opportunity status. As to neutral criteria, it is unclear at best how SD7 could be revised

   without sacrificing (and, hence, subordinating) non-racial criteria. See Bethune-Hill v. Virginia

   State Bd. of Elections, 580 U.S. 178, 190 (2017); Milligan, 599 U.S. at 30–33 (plurality opinion).

   SD7 and its neighbors (SD9, SD10 and SD13) are all highly compact, regular, and rectangular

   districts. To reformulate these to bring more Black residents (from an unknown location) into

   SD7 would almost certainly inject jagged edges and political-subdivision splits into these

   districts, snatching irregularity from the jaws of regularity—because of race.

          In sum, nothing supports the assertion that Section 2 requires four Detroit-area

   opportunity districts, and everything Dr. Grofman enigmatically states on the topic signals

   that it almost certainly does not. Because the VRA and the Constitution are both satisfied,

   this Court cannot enjoin the Crane plan.

                                           CONCLUSION

          As the parties and the special master all agree, the Court should not enjoin the Crane

   plan. It should declare that the Secretary of State may administer that plan in future elections.




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    Dated: July 19, 2024                          Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on July 19, 2024, a true and correct copy of the foregoing was filed

   via the Court’s CM/ECF system and served via electronic filing upon all counsel of record in

   this case.


                                                      /s/ David H. Fink
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